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THE HONORABLE MARSHA J. PECHMAN

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
DAVID GOLDSTINE,
Plaintiff,
Case No. 2:18-cv-01164 MJP
Vv.
SPECIAL VERDICT FORM
FEDEX FREIGHT, INC.,
Defendant.

 

 

We the jury, provide the following answers to the questions submitted by the Court:

QUESTION NO. 1: Has Mr. Goldstine proved his disability discrimination claim in violation
of the Washington Law Against Discrimination?

ANSWER: Yes (write Yes or No).
QUESTION NO. 2: Has Mr. Goldstine proved his retaliation claim in violation of the

Washington Law Against Discrimination?

ANSWER: Yes (write Yes or No).

SPECIAL JURY VERDICT FORM - 1

 
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Case 2:18-cv-01164-MJP Document 326 Filed 11/16/20 Page 2 of 4

QUESTION NO. 3: Has Mr. Goldstine proved his disability discrimination claim in violation
of the Americans With Disabilities Act?

ANSWER: Yes (write Yes or No).

QUESTION NO. 4: Has Mr. Goldstine proved his retaliation claim in violation of the
Americans With Disabilities Act?

ANSWER: Yes (write Yes or No).

If you answered “No” to every one of the previous questions (1, 2, 3, and 4), then do not answer
the remaining questions, and please sign and date the verdict form. If you answered “Yes” to

any of the previous questions, then please proceed to answer the questions below.

QUESTION NO. 5:
Did Mr. Goldstine suffer damages proximately caused by the actions of FedEx Freight,
Inc.?

ANSWER: Yes (write Yes or No).
If you answered “Yes” to Question No. 5, please answer Question No. 6. If you answered

“No” to Question No. 5, then do not answer the remaining questions, and please sign and

date the verdict form.

SPECIAL JURY VERDICT FORM - 2

 
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QUESTION NO. 6:
What do you find to be the amount of damages sustained by Mr. Goldstine?
Economic Damages, if any, in the following categories:
A. Past Economic Loss $129,278.00
B. Future Economic Loss $272,465.00

Non-economic damages:

C. Emotional Harm ¢ 1,750,000.00

If you answered “Yes” to Question No. 5 and found damages in Question No. 6, please

answer Question No. 7.

QUESTION NO. 7: Did FedEx Freight prove that Plaintiff failed to mitigate his damages?
ANSWER: Yes (write Yes or No)

If you answered “Yes” to Question No. 7, please answer Question No. 8. If you answered

“No” to Question No. 7 and “Yes” to question Nos. 3 & 5, please answer Question No. 9.

QUESTION NO. 8: If you answered “Yes” to Question 7 (mitigation), you are instructed to
reduce the amount of Plaintiff's damages you found in Question 6 by the amount you attribute
to the Plaintiffs failure to mitigate and enter the answer on the line below.

¢ 300,000.00

If you answered “No” to Question No. 3, then do not answer the remaining questions, and
please sign and date the verdict form. If you answered “Yes” to Question Nos. 3 & 5, please

answer Question No. 9 below.

SPECIAL JURY VERDICT FORM - 3

 
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QUESTION NO. 9: Do you find that Defendant FedEx Freight, Inc. acted with malice or
reckless indifference to Mr. Goldstine’s rights against discrimination under the Americans
with Disabilities Act on the basis of a disability?

ANSWER: Yes (write Yes or No).

If you answered “No” to Question No. 9, then do not answer the remaining question, and
please sign and date the verdict form. If you answered “Yes” to Question No. 9, please

answer Question No. 10 below.

QUESTION NO. 10: What amount will punish Defendant FedEx Freight, Inc. for its malice
or reckless indifference to Mr. Goldstine’s rights against discrimination under the Americans

with Disabilities Act on the basis of a disability and deter similar acts in the future?

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Presiding Juror, please sign and date this Verdict Form.

Dated November 1 6 , 2020.

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PRESIDING JUROR

SPECIAL JURY VERDICT FORM - 4

 
